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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION

In Re: Ethicon Inc., Pelvic Repair System Products Liability Litigation
                            MDL No. 2327
                              Civil Action No. ____________
                                                2:13-32122
______________________________________________________________________________

                                  SHORT FORM COMPLAINT

   Come now the Plaintiff(s) named below, and for Complaint against the Defendants named

below, incorporate The First Amended Master Complaint in MDL No. 2327 by reference.

Plaintiff(s) further show the court as follows:

  1. Female Plaintiff

        Dana Moore

  2. Plaintiff’s Spouse (if applicable)

        Allen Moore

  3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator)

        N/A

  4. State of Residence

       Texas
       ___________________________

  5. District Court and Division in which venue would be proper absent direct filing.

       Western District of North Carolina
       ___________________________________________________________



  6. Defendants (Check Defendants against whom Complaint is made):

        ✔      A. Ethicon, Inc.

        ✔      B. Ethicon, LLC

                                                                                      Revised: 11/6/13
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     ✔      C. Johnson & Johnson

            D. American Medical Systems, Inc. (“AMS”)

            E. Boston Scientific Corporation

            F. C. R. Bard, Inc. (“Bard”)

            G. Sofradim Production SAS (“Sofradim”)

            H. Tissue Science Laboratories Limited (“TSL”)

            I. Mentor Worldwide LLC

            J. Coloplast Corp.

            K. Cook Incorporated

            L. Cook Biotech, Inc.

            M. Cook Medical, Inc.

7. Basis of Jurisdiction

     ✔      Diversity of Citizenship

            Other:

    A. Paragraphs in Master Complaint upon which venue and jurisdiction lie:

            Paragraph 1-11

            ___________________________

            ___________________________

    B. Other allegations of jurisdiction and venue:

     N/A




    ________________________________________________________________________

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8. Defendants’ products implanted in Plaintiff (Check products implanted in Plaintiff)

           Prolift

           Prolift +M

           Gynemesh/Gynemesh PS

           Prosima

    ✔      TVT

           TVT-Obturator (TVT-O)

           TVT-SECUR (TVT-S)

           TVT-Exact

           TVT-Abbrevo

           Other




9. Defendants’ Products about which Plaintiff is making a claim. (Check applicable
   products):

           Prolift

           Prolift +M

           Gynemesh/Gynemesh PS

           Prosima

    ✔      TVT

           TVT-Obturator (TVT-O)

           TVT-SECUR (TVT-S)

           TVT-Exact

           TVT-Abbrevo




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            Other

           _________________________________________

           _________________________________________


10. Date of Implantation as to Each Product:
            10/21/2013



            ________________________________


11. Hospital(s) where Plaintiff was implanted (including City and State):

     Mission Hospital

     Asheville, North Carolina


12. Implanting Surgeon(s):

    James P. Theofrastous, MD
    ___________________________________




13. Counts in the Master Complaint brought by Plaintiff(s):

     ✔      Count I Negligence

     ✔      Count II Strict Liability Manufacturing Defect

     ✔      Count III Strict Liability Failure to Warn

     ✔      Count IV     Strict Liability Defective Product

     ✔      Count V Strict Liability Design Defect

     ✔      Count VI Common Law Fraud

     ✔      Count VII Fraudulent Concealment

     ✔      Count VIII Constructive Fraud


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        ✔      Count IX Negligent Misrepresentation

        ✔      Count X      Negligent Infliction of Emotional Distress

        ✔      Count XI Breach of Express Warranty

        ✔      Count XII Breach of Implied Warranty

        ✔      Count XIII     Violation of Consumer Protection Laws

        ✔      Count XIV      Gross Negligence

        ✔      Count XV      Unjust Enrichment

        ✔      Count XVI Loss of Consortium

        ✔      Count XVII Punitive Damages

        ✔      Count XVIII Discovery Rule and Tolling

               Other Count(s) (Please state factual and legal basis for other claims below):



        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________



                                                      s/ Alex Barlow
                                                               Attorney(s) for Plaintiff

 Address, phone number, email address and bar information:

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BAR ADMISSIONS:

Alex Barlow (TX #24006798)



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